         Case 6:21-cv-01214-ADA Document 15 Filed 01/13/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 6:21-cv-01214-ADA
                                      §
vs.                                   §              PATENT CASE
                                      §
BMW OF NORTH AMERICA, LLC,            §              JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant BMW of North

America, LLC without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                    Page | 1
         Case 6:21-cv-01214-ADA Document 15 Filed 01/13/22 Page 2 of 2




Dated: January 13, 2022.                     Respectfully submitted,



                                             /s/ Jay Johnson
                                             JAY JOHNSON
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                                             D. BRADLEY KIZZIA
                                             State Bar No. 11547550
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                                             ATTORNEYS FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on January 13, 2022. Parties may
access the foregoing through the Court’s system.


                                         /s/ Jay Johnson
                                         JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                    Page | 2
